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 6   Attorneys for the United States

 7                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                             Case No.: 2:20-mj-912-DJA
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                     Plaintiff,                            Stipulation
                                                           ORDER to Extend Deadlines to
10                                                         Conduct Preliminary Hearing and
            v.                                             File Indictment (Second Request)
11
     LEONEL CALDERON-ROBLES,
12     a.k.a. “Leonel Colderon,”
       a.k.a. “Leonel Caldreon-Robles,”
13     a.k.a. “Leonel Calderon,”

14                   Defendant.

15
            IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
16
     Trutanich, United States Attorney, and Kimberly M. Frayn, Assistant United States
17
     Attorney, counsel for the United States of America, and Margaret Lambrose, Assistant
18
     Federal Public Defender, counsel for Defendant LEONEL CALDERON-ROBLES, that
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     the Court schedule the preliminary hearing in this case for no earlier than 90 days from
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     the current date, January 25, 2021. This request requires that the Court extend two
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     deadlines: (1) that a preliminary hearing be conducted within 14 days of a detained
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     defendant’s initial appearance, see Fed. R. Crim. P. 5.1(c); and (2) that an information or
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     indictment be filed within 30 days of a defendant’s arrest, see 18 U.S.C. § 3161(b).
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1            This stipulation is entered into for the following reasons:

2            1.       The United States Attorney’s Office has developed an early disposition

3    program for immigration cases, authorized by the Attorney General pursuant to the

4    PROTECT ACT of 2003, Pub. L. 108-21.

5            2.       The early disposition program for immigration cases is designed to: (1) reduce

6    the number of hearings required in order to dispose of a criminal case; (2) avoid having

7    more cases added to the court’s trial calendar, while still discharging the government’s duty

8    to prosecute federal crimes; (3) reduce the amount of time between complaint and

9    sentencing; and (4) avoid adding significant time to the grand jury calendar to seek

10   indictments in immigration cases, which in turn reduces court costs.

11           3.       The government has made a plea offer in this case that requires defendant to

12   waive specific rights and hearings in exchange for “fast-track” downward departure under

13   USSG § 5K3.1. This offer will be withdrawn if it is not timely accepted before this matter is

14   indicted and before a preliminary hearing is held. The parties have reached an agreement in

15   principle and a change of plea hearing date has been set for February 19, 2021, before Judge

16   Mahan in case number 2:20-cr-341-JCM-DJA.

17           4.       Under Federal Rule of Criminal Procedure 5.1(c), the Court “must hold the

18   preliminary hearing within a reasonable time, but no later than 14 days after the initial

19   appearance if the defendant is in custody . . . .”

20           5.       However, under Rule 5.1(d), “[w]ith the defendant’s consent and upon a

21   showing of good cause—taking into account the public interest in the prompt disposition of

22   criminal cases—a magistrate judge may extend the time limits in Rule 5.1(c) one or more

23   times . . . .”

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1            6.       Furthermore, under the Speedy Trial Act, 18 U.S.C. § 3161(b), “[a]ny

2    information or indictment charging an individual with the commission of an offense shall be

3    filed within thirty days from the date on which such individual was arrested or served with a

4    summons in connection with such charges.”

5            7.       If the court ultimately does not accept the defendant’s change of plea, he will

6    need additional time to review the discovery, investigate potential defenses, and prepare for

7    the preliminary hearing.

8            8.       Accordingly, the parties jointly request that the Court schedule the

9    preliminary hearing in this case no sooner than 90 days from the January 25, 2021 hearing

10   date.

11           9.       Defendant is in custody and agrees to the extension of the 14-day deadline

12   imposed by Rule 5.1(c) and waives any right to remedies under Rule 5.1(c) or 18 U.S.C.

13   § 3161(b), provided that the information or indictment is filed on or before the date ordered

14   pursuant to this stipulation.

15           10.      The parties agree to the extension of that deadline.

16           11.      This extension supports the public interest in the prompt disposition of

17   criminal cases by permitting defendant to consider entering into a plea agreement under the

18   United States Attorney’s Office’s fast-track program for § 1326 defendants.

19           12.      Accordingly, the additional time requested by this stipulation is allowed

20   under Federal Rule of Criminal Procedure 5.1(d).

21           13.      In addition, the parties stipulate and agree that the time between today and

22   the scheduled preliminary hearing is excludable in computing the time within which the

23   defendant must be indicted and the trial herein must commence pursuant to the Speedy

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1    Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), considering the factors under 18 U.S.C.

2    § 3161(h)(7)(B)(i) and (iv).

3           14.     This is the second request for an extension of the deadlines by which to

4    conduct the preliminary hearing and to file an indictment.

5           DATED this 8th day of January, 2021.

6                                               Respectfully submitted,

7                                               NICHOLAS A. TRUTANICH
                                                United States Attorney
8
      /s/Margaret Lambrose                      /s/Kimberly M. Frayn
9     Margaret Lambrose                         KIMBERLY M. FRAYN
      Assistant Federal Public Defender         Assistant United States Attorney
10    Counsel for Defendant
      LEONEL CALDERON-ROBLES
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1                       UNITED STATES DISTRICT COURT
2                            DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                             Case No.: 2:20-mj-912-DJA

4                    Plaintiff,                            [Proposed] Order on Stipulation to
                                                           Extend Deadlines to Conduct
5           v.                                             Preliminary Hearing and
                                                           File Indictment
6    LEONEL CALDERON-ROBLES,
       a.k.a. “Leonel Colderon,”
7      a.k.a. “Leonel Caldreon-Robles,”
       a.k.a. “Leonel Calderon,”
8

9                    Defendant.

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            Based on the stipulation of counsel, good cause appearing, and the best interest of
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     justice being served; the time requested by this stipulation being excludable in computing
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     the time within which the defendant must be indicted and the trial herein must commence
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     pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), and Federal Rule of
14
     Criminal Procedure 5.1, considering the factors under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv):
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            IT IS THEREFORE ORDERED that the preliminary hearing currently scheduled
16
                                                     April 26, 2021,
     on January 25, 2021 be vacated and continued to ___________  at at
                                                                     the4:00
                                                                         hourp.m. Courtroom 3A.
                                                                              of _______.
17                       11th
           DATED this ___ day of January, 2021.
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                                                HONORABLE DANIEL J. ALBREGTS
20                                              UNITED STATES MAGISTRATE JUDGE
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